       The following cases in which the Court of Appeals issued published opinions have been
appealed to the Supreme Court:

    1. Jesse Gregory Edmond
        v. Commonwealth of Virginia
        Record No. 0557-15-2
        Opinion rendered by Judge Malveaux on
        August 2, 2016

    2. King William County and Virginia Association of Counties Group
       v. Lina Jones
       Record No. 0576-15-2
       Opinion rendered by Judge Russell, Jr. on
        August 9, 2016

    3. Sue Karr, Harold H. McCall, James R. Webb and Carol Ann White
       v. Virginia Department of Environmental Quality and David K. Paylor, Director
       Record No. 1715-15-2
       Opinion rendered by Judge Humphreys on
        August 9, 2016
   The following cases in which the Court of Appeals issued published opinions have been
disposed of by the Supreme Court:

1. Ryan Austin Collins
   v. Commonwealth of Virginia
   Record No. 1096-14-2
   Opinion rendered by Judge AtLee
    on July 21, 2015
   Judgment of Court of Appeals affirmed by opinion rendered on
    September 15, 2016 (151277)

2. Naa Lamiley Williams
   v. Capital Hospice, et al.
   Record No. 0947-15-4
   Opinion rendered by Judge Humphreys
    on March 29, 2016
   Dismissed for lack of jurisdiction pursuant to Code § 17.1-410(A)(2) and (B)
    by order entered on July 26, 2016 (160655)
      The Supreme Court issued opinions in the following cases, which had been appealed
from this Court:

   1. Eliseo Granado, Jr.
      v. Commonwealth of Virginia
      Record No. 1354-14-1
      CAV petition for appeal denied by Judge Beales on February 6, 2015 and by
       Judges McCullough, Russell and Senior Judge Frank on May 14, 2015
      Judgment of Court of Appeals reversed and matter remanded to this Court with
       direction to review the petition for appeal considering the written statement of
       facts entered by trial judge on August 22, 2014
      (150936)

   2. Mihn Duy Du
      v. Commonwealth of Virginia
      Record No. 2040-14-3
      CAV petition for appeal denied by Judge Chafin on June 11, 2015
      Judgment of Court of Appeals affirmed by opinion rendered on September 22, 2016
      (151058)
